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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION

 DARRYL D. TAYLOR,                        )
                                          )
              Petitioner,                 )
                                          )
       v.                                 )
                                          )    NOS.     2:11-CV-11
 UNITED STATES OF AMERICA,                )            (2:08-CR-88)
                                          )
              Respondent.                 )


                             OPINION AND ORDER

       This matter is before the Court on the Motion Under 28 U.S.C

 § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

 Federal Custody (DE #517) filed by Defendant, Darryl D. Taylor, on

 January 6, 2011. For the reasons set forth below, this motion is

 DENIED.



 BACKGROUND

       Defendant, Darryl D. Taylor (“Taylor”), was charged with one

 count of conspiracy to possess with intent to distribute and

 distribute methamphetamine.      On September 11, 2009, Taylor entered

 into a plea agreement with the Government, whereby Taylor agreed to

 plead guilty to the above charge and also to waive his right to

 appeal the conviction and sentence imposed, including the right to

 contest any claim of ineffective assistance of counsel unless the

 claimed ineffective assistance of counsel related directly to the

 waiver or its negotiation. In exchange, the Government agreed to
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 make a non-binding recommendation to the Court that Taylor be

 sentenced to the ten year minimum mandatory sentence. In addition,

 the Government agreed to withdraw its previously filed information

 regarding enhanced penalties under 21 U.S.C. section 851.

        A change of plea hearing took place on September 14, 2009.

 During that hearing, Taylor was placed under oath and stated that

 he was satisfied with the representation he had received by his

 counsel, Attorney William Padula. Additionally, Taylor confirmed

 that he understood and agreed to each of the terms of the plea

 agreement and that he wanted to plead guilty pursuant to the

 agreement with the Government. Taylor acknowledged numerous times

 that he understood the waiver of his right to appeal his conviction

 and sentence. When the Court invited questions or requests for

 clarification from Taylor, on multiple occasions, he indicated that

 he had none. On January 11, 2010, Taylor was sentenced to ten years

 incarceration, to be followed by five years of supervised release.

       Subsequently, Taylor filed the instant section 2255 petition

 arguing that his guilty plea and conviction were obtained in

 violation of his Sixth Amendment right to counsel because Attorney

 Padula failed to consult with him on major decisions in his case,

 failed to provide him with discovery in a timely manner, and failed

 to request a continuance so that Taylor could adequately review the

 tendered discovery documents. Additionally, Taylor argues that

 Attorney Padula failed to “make a reasonable investigation” in that


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 he failed to note that “the U.S. Governments [sic] witnesses change

 their ‘statements’ many times during their proffers” and in that he

 also failed to review a Kansas traffic stop that led to government

 agents questioning Taylor regarding the sale and manufacture of

 narcotics. Taylor argues that Attorney Padula “had not only the

 right but the duty to subpoena the traffic stop which he did not

 accomplish.”    Taylor contends that Attorney Padula “did not follow

 up with any of the information that [Taylor] provided him which

 clearly discredit[ed] the indivuals [sic] that the U.S. Government

 used to give proffers.” Finally, Taylor argues that Attorney Padula

 “also did not contest the amount of time that the U.S. Government

 took   from   the   time   of    [his]     initial   arrest       and   period    of

 incarceration    to   [his]     final    sentencing”      which    Taylor    argues

 violated the Speedy Trial Act. The Government posits that Taylor

 waived any rights to appeal his conviction or sentence and thus his

 section 2255 petition is barred by the appellate waiver contained

 in his plea agreement.        Taylor Disagrees.



 DISCUSSION

 Section 2255 Petition

        Habeas corpus relief under 28 U.S.C. section 2255 is reserved

 for “extraordinary situations.”           Prewitt v. United States, 83 F.3d

 812, 816 (7th Cir. 1996).        In order to proceed on a habeas corpus

 petition pursuant to 28 U.S.C. section 2255, a federal prisoner


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 must show that the district court sentenced him in violation of the

 Constitution or laws of the United States, or that the sentence was

 in excess of the maximum authorized by law, or is otherwise subject

 to collateral attack. Id.

       In assessing Taylor’s motion, the Court is mindful of the

 well-settled     principle    that,      when   interpreting       a     pro   se

 petitioner's complaint or section 2255 motion, district courts have

 a “special responsibility” to construe such pleadings liberally.

 Donald v. Cook County Sheriff's Dep’t., 95 F.3d 548, 555 (7th Cir.

 1996); Estelle v. Gamble, 429 U.S. 97, 106 (1976) (a “pro se

 complaint, ‘however inartfully pleaded’ must be held to ‘less

 stringent standards than formal pleadings drafted by lawyers’”)

 (quoting Haines v. Kerner, 404 U.S. 519 (1972)); Brown v. Roe, 279

 F.3d 742, 746 (9th Cir. 2002) (“pro se habeas petitioners are to be

 afforded ‘the benefit of any doubt’”) (quoting Bretz v. Kelman, 773

 F.2d 1026, 1027 n.1 (9th Cir. 1985)).           In other words:

             The mandated liberal construction afforded to
             pro se pleadings “means that if the court can
             reasonably read the pleadings to state a valid
             claim on which the [petitioner] could prevail,
             it should do so despite the [petitioner’s]
             failure to cite proper legal authority, his
             confusion of various legal theories, his poor
             syntax and sentence construction, or his
             unfamiliarity with pleading requirements.”

 Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999) (habeas

 petition from state court conviction) (alterations in original)

 (quoting Hall    v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).


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 On the other hand, “a district court should not ‘assume the role of

 advocate for the pro se litigant’ and may ‘not rewrite a petition

 to include claims that were never presented.’” Id.



 Preclusive Effect of Plea Agreement Waiver

       Taylor’s plea agreement contained an appeal waiver, where

 Taylor agreed to waive appeal of his conviction or sentence.                    A

 waiver is the intentional relinquishment or abandonment of a known

 right.   United States v. Sumner, 265 F.3d 532, 537 (7th Cir. 2001).

 The Seventh Circuit has held that a waiver to file a section 2255

 petition contained in a plea agreement is enforceable only if it

 is: (1) knowing and voluntary and (2) if the defendant cannot

 establish    a   claim   for    ineffective    assistance     of   counsel     in

 connection with negotiating the agreement. Mason v. United States,

 211 F.3d 1065 (7th Cir. 2000); Jones v. United States, 167 F.3d

 1142 (7th Cir. 1999).          As such, it must be determined if Taylor

 made a knowing and voluntary waiver and whether he has established

 a claim for ineffective assistance of counsel in connection with

 negotiating the agreement.



       Taylor entered into the plea
       agreement knowingly and voluntarily

       Courts enforce a plea agreement's appellate and collateral

 attack waiver “if its terms are clear and unambiguous and the

 record shows that the defendant knowingly and voluntarily entered

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 into the agreement.” U.S. v. Blinn, 490 F.3d 586, 588 (7th Cir.

 2007). Courts may consider a defendant's signature on the plea

 agreement and his statements during the plea colloquy as evidence

 of a knowing and voluntary waiver. United States v. Jemison, 237

 F.3d 911, 917-18 (7th Cir. 2001).

       Taylor’s    plea   agreement      contained       the   following waiver

 provision:

              I understand that the law gives a convicted
              person the right to appeal the conviction and
              the sentence imposed; I also understand that
              no one can predict the precise sentence that
              will be imposed, and that the Court has
              jurisdiction and authority to impose any
              sentence within the statutory maximum set for
              my offense as set forth in this plea
              agreement; with this understanding and in
              consideration of the government’s entry into
              this plea agreement, I expressly waive my
              right to appeal or to contest my conviction
              and my sentence or the manner in which my
              conviction or my sentence was determined or
              imposed, to any Court on any ground, including
              any claim of ineffective assistance of counsel
              unless the claimed ineffective assistance of
              counsel relates directly to this waiver or its
              negotiation, including any appeal under Title
              18, United States Code, Section 3742 or any
              post-conviction proceeding, including but not
              limited to, a proceeding under Title 28,
              United States Code, Section 2255.

 (DE 331 at 4).

       Notably, Taylor and his lawyer both signed the plea agreement.

 (Change of Plea Hearing Transcript at 3-4.) Taylor read the waiver

 provision. (Id. at 9-10.) Upon questioning from the Court, Taylor

 agreed under oath that he understood it, agreed with it, and was


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 giving up his rights knowingly and voluntarily. (Id. at 9-10, 23.)

 He also agreed that no one had forced him to sign it. (Id. at 23.)

 During the change of plea hearing, Taylor acknowledged that he was

 waiving his right to file any later petition challenging his

 conviction or sentence. (Id. at 23).           He further indicated he has

 no questions about the waiver.         (Id.)

       Following the Court’s careful explanation of the consequences

 of the plea, Taylor set forth a factual basis for his guilty plea,

 agreed with the prosecution version of the facts, and pleaded

 guilty. (Id. 32-47.)        The Court then found that the plea was

 entered knowingly and voluntarily and supported by an independent

 basis in fact containing each of the essential elements of the

 offense. (Id. at 47.)

       From this evidence, the Court is satisfied that the appeal

 waiver is enforceable. See United States v. Jemison, 237 F.3d 911,

 917 (7th Cir. 2001).       Because Taylor knowingly and voluntarily

 entered into the plea agreement, and because all of its provisions

 – including the waivers – were explained to him at the change-of-

 plea hearing without any requests for further clarification or

 disagreement, he is bound by it.



       Taylor has not made a valid claim
       of ineffective assistance of counsel
       in connection with negotiating the agreement

       Given this Court’s finding that the waiver provisions in his

 plea agreement is enforceable, Taylor’s section 2255 petition must

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 fail unless Taylor points directly to ineffective negotiation that

 would     have    rendered      the   entire     plea    agreement     invalid     or

 fundamentally unfair for the Court to enforce.                Taylor argues that

 Attorney Padula failed in several respects but, notably, he fails

 to reference any deficiencies in Padula’s negotiation of the actual

 plea agreement.         Indeed, Taylor fails to make any reference to the

 plea agreement negotiations themselves.                 Because Taylor failed to

 do so, his section 2255 petition fails.                     Taylor’s failure to

 indicate    how    or    even   if    Attorney    Padula    was   ineffective      in

 negotiating the plea agreement is fatal to his claim.

         Even if Taylor’s motion is somehow construed as containing an

 allegation that Attorney Padula was ineffective in his negotiation

 of the plea agreement, his claim would fail.                 Because counsel is

 presumed effective, a defendant bears a heavy burden in proving

 that his attorney rendered ineffective assistance. United States

 v. Guerrero, 938 F.2d 725, 727 (7th Cir. 1991). “Only if the

 petitioner comes forward with ‘specific acts or omissions of his

 counsel that constitute ineffective assistance’ will [the Court]

 then consider ‘whether these acts or omissions were made outside

 the wide range of professionally competent assistance.’” Hutchings

 v. Unites States, 618 F.3d 693, 697 (7th Cir. 2010) (citing Berkey

 v. United States, 318 F.3d 768 (7th Cir. 2003). A claim for

 ineffective assistance of counsel can only prevail if the defendant

 satisfies the test set forth in Strickland v. Washington, 466 U.S.

 668 (1984). Under this test, the defendant must show: (1) that the

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 attorney’s representation fell well below an objective standard of

 reasonableness (performance prong) and (2) that there exists a

 reasonable probability that, but for counsel’s unprofessional

 errors, the result of the proceedings would have been different

 (prejudice    prong).   A   reasonable       probability     is   a   probability

 sufficient to undermine confidence in the outcome of the case.

 Strickland, 466 U.S. at 694.         Thus, “[t]o establish prejudice in

 the pleading context, the petitioner must prove that there is a

 reasonable probability that he would not have pled guilty absent

 his attorney’s deficient conduct.” Hutchings at 697.                    To do so,

 petitioner must come forward with objective evidence that he would

 not have so pled. Id. Thus, even in the absence of a valid,

 enforceable waiver, and even if Attorney Padula’s performance had

 been deficient, Taylor’s petition would nevertheless fail because

 Taylor   does   not   sufficiently      allege    prejudice;       Taylor     never

 contends that but for Attorney Padula’s actions in representing

 him, he would not have pled guilty pursuant to the plea agreement.



 CONCLUSION

       For the reasons set forth above, this motion is DENIED.

 DATED: January 30, 2012                      /s/RUDY LOZANO, Judge
                                              United States District Court




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